Case 8:20-cv-02238-VMC-JSS Document 22 Filed 10/16/20 Page 1 of 5 PageID 242



                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

ENVIRONMENTAL PROTECTION
COMMISSION OF HILLSBOROUGH
COUNTY, FLORIDA

Plaintiff,

v.                                            Case No. 8:20-cv-2238-T-33JSS

MERCEDES-BENZ USA, LLC;
DAIMLER AKTIENGESELLSCHAFT;
ROBERT BOSCH, LLC; ROBERT
BOSCH GmbH;

Defendants.
                    NOTICE OF PENDENCY OF OTHER ACTIONS

       In accordance with Local Rule 1.04(d), I certify that the instant action:

  X     IS          related to pending or closed civil or criminal case(s) previously
                    filed in this Court, or any other Federal or State court, or
                    administrative agency as indicated below:

                    In re: Volkswagen "Clean Diesel" Marketing, Sales Practices,
                    and Products Liability Litigation, pending in the United Stated
                    District Court for the Northern District of California, San
                    Francisco Division, before the Honorable Charles R. Breyer,
                    Case No. 3:15-md-02672-CRB.

       Consequent to the U.S. Environmental Protection Agency accused
Volkswagen (VW) of lying over pollution tests and violating the Clean Air Act in
September 2015, Volkswagen admitted to secretly installing so-called defeat device
software in at least 11 million vehicles, about half a million of which had been sold
in the U.S. The software reduced nitrogen oxide emissions in vehicles to pass
government-mandated emissions tests, but then increased the vehicles' emissions up
to 40 times the legal limit when driven. Volkswagen's emissions cheating scheme
came to life in early 2007 as part of an aggressive plan to grow the company,
Case 8:20-cv-02238-VMC-JSS Document 22 Filed 10/16/20 Page 2 of 5 PageID 243



doubling its revenue between 2007 and 2015, and continued to increase its revenue
year over year even after the scandal broke. In the years since Volkswagen admitted
wrongdoing, it has reached billions of dollars in settlements with drivers and
regulators. Unlike Volkswagen, Bosch Auto parts maker Robert Bosch GmbH and
its North American unit Robert Bosch LLC were initially named as defendants but
did not concede liability and were dismissed from the case in June 2020. A sprawling
multidistrict litigation is still ongoing.

                   In re: EPC of Hillsborough County et al. v. Volkswagen Group
                   of America et al., pending in United States Court of Appeals for
                   the Ninth Circuit, Case No. 18-15937.

       The Environmental Protection Commission of Hillsborough County (EPC)
filed a complaint against Volkswagen AG, Volkswagen Group of America, Inc.,
AUDI AG, Audi of America, LLC, and Porsche Cars North America, Inc. in the
United States District Court of the Middle District of Florida, Case No. 8:16-cv-
00721-SDM-TBM. On March 24, 2016, the case was transferred and has been
subject to active and ongoing litigation through the underlying MDL In re:
Volkswagen "Clean Diesel" Marketing, Sales Practices and Products Liability
Litigation. The EPC of Hillsborough County’s lawsuit alleges Volkswagen's use of
emissions-cheating devices violated local anti-tampering laws, and stems from the
EPA's investigation into Volkswagen's 2015 admission that it rigged their "clean
diesel" vehicles in the U.S. with emissions-cheating software defeat devices.

       Most recently, the Ninth Circuit agreed with the Environmental Protection
Commission of Hillsborough County, Florida that the district court was wrong to
find the CAA preempted claims that VW and other carmakers tampered with the
devices after the vehicles had been sold. The same three-judge panel that ruled in
favor of the EPC on June 1, 2020 also granted Volkswagen Group of America Inc.'s
motion to stay mandate on September 3, 2020 to allow Volkswagen file a petition
for writ of certiorari in the Supreme Court challenging the Ninth Circuit's June
decision.

      Bosch Auto parts maker Robert Bosch GmbH and its North American unit
Robert Bosch LLC remain named defendants accused of aiding VW in their alleged
emissions cheating and have not conceded liability.

                   In re: Mercedes-Benz Emissions Litigation, pending in the
                                         2
Case 8:20-cv-02238-VMC-JSS Document 22 Filed 10/16/20 Page 3 of 5 PageID 244



                   United States District Court of New Jersey before the Honorable
                   Kevin McNulty, Case No. case number 2:16-cv-00881-KM-
                   ESK.

        In September 2020, Mercedes-Benz USA LLC and its German parent Daimler
AG agreed to resolve a class suit by driver consumers sold diesel vehicles with
emissions-cheating software made by Robert Bosch GmbH. The settlement resolved
litigation initiated in 2016, following the similar scandal over fellow German
carmaker Volkswagen's use of defeat device software to bypass emissions standards.
Here, Daimler programmed the BlueTEC diesel technology in some vehicles made
by Mercedes-Benz to perform much better during emissions testing than during
actual driving. While the BlueTEC cars emit nitrogen oxides at levels many times
higher than the U.S. Environmental Protection Agency allows, Daimler marketed
them as "clean diesel" vehicles.

       Bosch, the German auto parts giant accused of aiding both VW and Mercedes-
Benz in their alleged emissions cheating, tried to escape the New Jersey case earlier
this year. An earlier order in the case forced Mercedes, Daimler and Bosch GmbH
unit Bosch LLC to face the allegations, and the judge said there was no reason to let
the Bosch parent avoid the lawsuit. Bosch Defendants refused to participate in a
settlement and remain defendants in this litigation

       This Daimler settlement deal is tied to the subsequent agreements between
Mercedes and Daimler with California Air Resources Board, the U.S. Department
of Justice's Environmental Division and U.S. Customs and Border Protection.

                   United States of America v. Daimler AG et al., pending in the
                   United States District Court for the District of Columbia, Case
                   No. 1:20-cv-2564

                   People of the State of California v. Daimler AG et al., pending
                   in the United States District Court for the District of Columbia,
                   Case No. 1:20-cv-2565.

        In September 2020, Daimler and subsidiary Mercedes-Benz resolved
complaints co-filed by the United States Department of Justice, on behalf of the
Environmental Protection Agency (EPA) and the California Air Resources Board
(CARB) to end claims they installed software in cars to cheat emissions tests similar
to fellow German carmaker Volkswagen's scandal over use of defeat device software
                                         3
Case 8:20-cv-02238-VMC-JSS Document 22 Filed 10/16/20 Page 4 of 5 PageID 245



to bypass emissions standards. The settlement addresses allegations that, from 2009
to 2016, Daimler manufactured, imported, and sold more than 250,000 diesel
Sprinter vans and passenger cars with undisclosed auxiliary emission control devices
(AECDs), and defeat devices programmed into the vehicles’ complex emissions
control software.

       Daimler will pay a civil penalty for its alleged civil violations of the Clean Air
Act split between the United States and to the CARB. The settlement also requires
Daimler to implement a recall and repair program consisting of a software update
and replacement of select hardware into compliance as a mitigation effort with
applicable emissions standards under the Clean Air Act, and implement new internal
audit procedures designed to prevent future emissions cheating. The recall program
and federal mitigation project are in addition to local mitigation projects in
California.

      Counsel informs the Court of these cases as an abundance of caution in
deference to compliance with and likely surplus to their duty and requirements
described in local rule 1.04(d). While these noticed cases are of a similar nature and
share certain factual components and defendant parties, the allegations and
circumstances of each case are distinct from the allegations made by EPC
Hillsborough in this action and relief sought by EPC Hillsborough is neither
contemplated nor discharged by any preceding litigation. Plaintiff’s’ likely over-
reporting to ensure compliance with the local rule is further understood to not
prejudice any party before this Court.

_____ IS NOT        related to any pending or closed civil or criminal case filed with
                    this Court, or any other Federal or State court, or administrative
                    agency.

     I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER
ACTIONS upon each party no later than fourteen days after appearance of the party.


Dated:       October 16, 2020




                                           4
Case 8:20-cv-02238-VMC-JSS Document 22 Filed 10/16/20 Page 5 of 5 PageID 246



    /s/ C. Lance Gould
    W. Daniel “Dee” Miles, III*
    C. Lance Gould*
    H. Clay Barnett*
    Lauren E. Miles*
    Tyner Helms*
    BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
    218 Commerce Street
    Montgomery, AL 36104
    Dee.Miles@BeasleyAllen.com
    Lance.Gould.@BeasleyAllen.com
    Clay.Barnett@BeasleyAllen.com
    Lauren.Miles@BeasleyAllen.com
    Tyner.Helms@BeasleyAllen.com

    * admitted pro hac vice

    /s/ Luis Martinez-Monfort
    Luis Martinez-Monfort
    Florida Bar No. 0132713
    GARDNER BREWER MARTINEZ-MONFORT, P.A.
    400 North Ashley Drive, Suite 1100
    Tampa, Florida 33602
    lmmonfort@gbmmlaw.com
    litigation@gbmmlaw.com
    Designated Trial Counsel per Local Rule 1.05(c)

    /s/ Thomas L. Young
    Thomas L. Young
    Florida Bar No. 0231680
    LAW OFFICE OF THOMAS L. YOUNG, P.A.
    209 South Howard Ave.
    Tampa, Florida 33606
    tyoung@tlylaw.com

    Counsel of Record for Plaintiff, The Environmental Protection Commission of
    Hillsborough County, Florida


                                       5
